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8 UNITED STATES DISTRICT COURT
9 FOR THE CENTRAL DISTRICT OF CALIFORNIA
10 February 2007 Grand Jury
11 || UNITED STATES OF AMERICA, ) CR 07-07 -Q1 142
)
12 Plaintiff, ) INDICTMENT
)
13 Vv. ) [21 U.S.C. § 846: Conspiracy
) to Manufacture, Possess with
14 || CHARLES LEROY TWYMAN, ) Intent to Distribute, and
aka “Lee,” ) Distribute Cocaine Base;
15 || GERALD PLAZE THOMAS, ) 21 U.S.C. § 843(b): Use of a
ANTHONY QUIN WHEELER, ) Communication Facility in
16 aka “Q,” ) Committing a Felony Drug
ANTHONY DEWAYNE TWYMAN, and) Offense]
17 || MICHAEL LYNN TWYMAN, )
aka “T-Ross,” )
18 )
Defendants. )
19 )
20
The Grand Jury charges:
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COUNT ONE
22
[21 U.S.C. § 846]
23
A OBUECTS—OF—-THER—CONSPERACY
24
Beginning on or about January 7, 2006, and continuing to on
25
or about March 20, 2006, in Los Angeles County, within the
26
Central District of California, and elsewhere, defendants CHARLES
27
LEROY TWYMAN, also known as (“aka”) “Lee” (“CHARLES TWYMAN”),
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GERALD PLAZE THOMAS ("THOMAS"), ANTHONY QUIN WHEELER, aka “Q”

 

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1 ("WHEELER"), ANTHONY DEWAYNE TWYMAN (“ANTHONY TWYMAN”), and
2 i] MICHAEL LYNN TWYMAN, aka “T-Ross” ("MICHAEL TWYMAN"), and others
3 |} known and unknown to the Grand Jury, conspired and agreed with
4 || each other to knowingly and intentionally (a) manufacture, (b)
5 || possess with intent to distribute, and (c) distribute more than
6||/50 grams of a mixture or substance containing cocaine base, in
7 || the form of crack cocaine, a Schedule II controlled substance, in
8 || violation of Title 21, United States Code, Section 841 (a) (1).
OB. MEANS BY WHICH THE OBJECTS OF THE CONSPIRACY WERE TO BE
10 ACCOMPLISHED
11 The objects of the conspiracy were to be accomplished in
12 || substance as follows:
13 1. Defendant THOMAS would convert cocaine powder to
14 | cocaine base, in the form of crack cocaine.
15 2. Defendant THOMAS would supply cocaine base, in
16 || the form of crack cocaine, to defendants CHARLES TWYMAN and
17 | defendant MICHAEL TWYMAN, who would distribute the cocaine base
18 || to defendants WHEELER and ANTHONY TWYMAN for sale to other drug
19 | customers.
20qC. OVERT ACTS
21 In furtherance of the conspiracy and to accomplish the
22 || objects of the conspiracy, defendants, and others known and
23 || unknown to the Grand Jury, committed various overt acts on or
24 || about the following dates, within the Central District of
25 California and elsewhere, including but not limited to the
26 || following:
27 1. On or about January 7, 2006, defendant THOMAS converted
28 || cocaine powder into approximately 114 grams of cocaine base, in

 

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1 i} the form of crack cocaine.
2 2. On January 7, 2006, in a telephone conversation and
3 using coded language, defendant CHARLES TWYMAN told defendant
4 || WHEELER that defendant CHARLES TWYMAN was getting the cocaine
5 | base for defendant WHEELER.
6 3. On January 8, 2006, in a telephone conversation and
7l|using coded language, defendant WHEELER told defendant CHARLES
8 || TWYMAN that the cocaine base defendant WHEELER had received from
91 defendant CHARLES TWYMAN weighed 114 grams.
10 4. On January 8, 2006, in a telephone conversation and
11] using coded language, defendant CHARLES TWYMAN told defendant
12 | WHEELER that defendant CHARLES TWYMAN and defendant THOMAS had
13 || weighed the cocaine base when defendant THOMAS had converted the
14 || cocaine base from cocaine powder, and that the cocaine base had
15 | weighed 136 grams.
16 5. On January 8, 2006, in a telephone conversation and
17 || using coded language, defendant CHARLES TWYMAN and defendant
18 || WHEELER discussed the appearance and packaging of the cocaine
19 || base manufactured by defendant THOMAS.
20 6. On January 8, 2006, in a telephone conversation and
21 || using coded language, defendant CHARLES TWYMAN and defendant
22 || THOMAS discussed the weight and appearance of the cocaine base
23 || manufactured by defendant THOMAS.
24 7. On March 7, 2006, in a telephone conversation and using
25 || coded language, defendant CHARLES TWYMAN and defendant WHEELER
26 || discussed defendant WHEELER purchasing cocaine base from
27 || defendant CHARLES TWYMAN.
28 8. On March 8, 2006, in a telephone conversation and using

 

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1 || coded language, defendant CHARLES TWYMAN and defendant ANTHONY
2 || TWYMAN discussed defendant WHEELER’s payment to defendant CHARLES
3 | TWYMAN for cocaine base.
4 9. On March 9, 2006, in a telephone conversation and using
5 |] coded language, defendant CHARLES TWYMAN and defendant THOMAS
6 || discussed the conversion of cocaine into cocaine base by
7 | defendant THOMAS and the weight of the cocaine base manufactured
8 | by defendant THOMAS.
9 10. On March 10, 2006, in a telephone conversation and
10 |} using coded language, defendant CHARLES TWYMAN and defendant
11 || MICHAEL TWYMAN discussed defendant MICHAEL TWYMAN picking up the
12 || cocaine base manufactured by defendant THOMAS.
13 11. On March 10, 2006, defendant THOMAS delivered
14 | approximately 148 grams of cocaine base to defendant MICHAEL
15 || TWYMAN.
16 12. On March 20, 2006, in a telephone conversation and
17 || using coded language, defendant CHARLES TWYMAN and defendant
18 || ANTHONY TWYMAN discussed the cocaine base that defendant THOMAS
19 | had delivered to defendant MICHAEL TWYMAN.
20 13. On March 21, 2006, in a telephone conversation and
21 using coded language, defendant CHARLES TWYMAN told defendant
22 || MICHAEL TWYMAN to take to defendant ANTHONY TWYMAN the cocaine
23 || base that defendant THOMAS had delivered to defendant MICHAEL
24 | TWYMAN.
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COUNT TWO
[21 U.S.C. § 843(b)]

On or about January 8, 2006, in Los Angeles County, within
the Central District of California, defendant CHARLES LEROY
TWYMAN, also known as “Lee,” knowingly and intentionally used a
communication facility, namely, a telephone, in committing and
causing and facilitating the commission of a felony drug offense,
namely, conspiracy to manufacture, possess with intent to
distribute, and distribute more than 50 grams of a mixture or
substance containing cocaine base, in the form of crack cocaine,
a schedule II controlled substance, a violation of 21 U.S.C.

§ 846.

 

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COUNT THREE
[21 U.S.C. § 843 (b)]

On or about March 9, 2006, in Los Angeles County, within the
Central District of California, defendant CHARLES LEROY TWYMAN,
also known as “Lee,” knowingly and intentionally used a
communication facility, namely, a telephone, in committing and
causing and facilitating the commission of a felony drug offense,
namely, conspiracy to manufacture, possess with intent to
distribute, and distribute more than 50 grams of a mixture or
substance containing cocaine base, in the form of crack cocaine,
a schedule II controlled substance, a violation of 21 U.S.C.

§ 846.

 

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COUNT FOUR
[21 U.S.C. § 843(b)]

On or about January 8, 2006, in Los Angeles County, within
the Central District of California, defendant GERALD PLAZE THOMAS
knowingly and intentionally used a communication facility,
namely, a telephone, in committing and causing and facilitating
the commission of a felony drug offense, namely, conspiracy to
manufacture, possess with intent to distribute, and distribute
more than 50 grams of a mixture or substance containing cocaine
base, in the form of crack cocaine, a schedule II controlled

substance, a violation of 21 U.S.C. § 846.

 

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COUNT FIVE
[21 U.S.C. § 843 (b)]

On or about March 9, 2006, in Los Angeles County, within the
Central District of California, defendant GERALD PLAZE THOMAS
knowingly and intentionally used a communication facility,
namely, a telephone, in committing and causing and facilitating
the commission of a felony drug offense, namely, conspiracy to
manufacture, possess with intent to distribute, and distribute
more than 50 grams of a mixture or substance containing cocaine
base, in the form of crack cocaine, a schedule II controlled

substance, a violation of 21 U.S.C. § 846.

 

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COUNT SIX
[21 U.S.C. § 843(b)]

On or about January 8, 2006, in Los Angeles County, within
the Central District of California, defendant ANTHONY QUIN
WHEELER, also known as “Q,” knowingly and intentionally used a
communication facility, namely, a telephone, in committing and
causing and facilitating the commission of a felony drug offense,
namely, conspiracy to manufacture, possess with intent to
distribute, and distribute more than 50 grams of a mixture or
substance containing cocaine base, in the form of crack cocaine,
a schedule II controlled substance, a violation of 21 U.S.C. §

846.

 

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COUNT SEVEN
[21 U.S.C. § 843 (b)]

On or about March 7, 2006, in Leos Angeles County, within the
Central District of California, defendant ANTHONY QUIN WHEELER,
also known as “Q,” knowingly and intentionally used a
communication facility, namely, a telephone, in committing and
causing and facilitating the commission of a felony drug offense,
namely, conspiracy to manufacture, possess with intent to
distribute, and distribute more than 50 grams of a mixture or
substance containing cocaine base, in the form of crack cocaine,
a schedule II controlled substance, a violation of 21 U.S.C. §

846.

 

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COUNT EIGHT
[21 U.S.C. § 843 (b)]

On or about March 8, 2006, in Los Angeles County, within the
Central District of California, defendant ANTHONY DEWAYNE TWYMAN
knowingly and intentionally used a communication facility,
namely, a telephone, in committing and causing and facilitating
the commission of a felony drug offense, namely, conspiracy to
manufacture, possess with intent to distribute, and distribute
more than 50 grams of a mixture or substance containing cocaine
base, in the form of crack cocaine, a schedule II controlled

substance, a violation of 21 U.S.C. § 846.

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COUNT NINE
[21 U.S.C. § 843 (b)]

On or about March 20, 2006, in Los Angeles County, within
the Central District of California, defendant ANTHONY DEWAYNE
TWYMAN knowingly and intentionally used a communication facility,
namely, a telephone, in committing and causing and facilitating
the commission of a felony drug offense, namely, conspiracy to
manufacture, possess with intent to distribute, and distribute
more than 50 grams of a mixture or substance containing cocaine
base, in the form of crack cocaine, a schedule II controlled

substance, a violation of 21 U.S.C. § 846.

 

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COUNT TEN
[21 U.S.C. § 843 (b)]

On or about March 10, 2006, in Los Angeles County, within
the Central District of California, defendant MICHAEL LYNN
TWYMAN, also known as “T-Ross,” knowingly and intentionally used
a communication facility, namely, a telephone, in committing and
causing and facilitating the commission of a felony drug offense,
namely, conspiracy to manufacture, possess with intent to
distribute, and distribute more than 50 grams of a mixture or
substance containing cocaine base, in the form of crack cocaine,
a schedule II controlled substance, a violation of 21 U.S.C. §

846.

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COUNT ELEVEN
[21 U.S.C. § 843(b)]

On or about March 21, 2006, in Los Angeles County, within
the Central District of California, defendant MICHAEL LYNN
TWYMAN, also known as “T-Ross,” knowingly and intentionally used
a communication facility, namely, a telephone, in committing and
causing and facilitating the commission of a felony drug offense,
namely, conspiracy to manufacture, possess with intent to
distribute, and distribute more than 50 grams of a mixture or
substance containing cocaine base, in the form of crack cocaine,
a schedule II controlled substance, a violation of 21 U.S.C. 8
846.

A TRUE BILL
/s /

FOREPERSON

 

GEORGE S. CARDONA
United States Attorney

 

THOMAS P. O’BRIEN
Assistant United States Attorney
Chief, Criminal Division

BONNIE L. HOBBS

Assistant United States Attorney
Violent and Organized Crime Section

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